Case 2:20-cv-11064-FMO-MRW Document 148 Filed 09/24/21 Page1of4 Page ID #:2859

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

 

Case No. CV 20-11064 FMO (MRWx) Date September 24, 2021
Title Roe v. Puig
Present: Hon. Michael R. Wilner, U.S. Magistrate Judge
Veronica Piper n/a
Deputy Clerk Court Reporter / Recorder
Attorneys for Plaintiff: Attorneys for Defendant:
n/a n/a
Proceedings: ORDER RE: MOTIONS TO QUASH
1. The Court held a hearing on the two motions to quash defense subpoenas.

(Docket # 117, 132.)

2. The motion regarding Plaintiffs business records is dismissed as moot. The
parties apparently reached an agreement to provide materials to establish Plaintiffs
net worth in lieu of the overbroad set of materials sought in these subpoenas. (Hey, that’s
what I suggested! (Docket # 146))

3. The motion to quash the subpoena for Plaintiff's phone records is mostly
granted. However, as discussed at the hearing, Defendant is entitled to obtain: (a) records
documenting calls and texts between Plaintiff and Defendant; and (b) billing invoices that
reflect whether or not Plaintiff obtained a new phone / device from the carrier during the
period set forth in the subpoenas. The parties are ordered to work collaboratively to
ensure that Defendant promptly obtains this information — and only this information.

REX

4. Given the length of the Court’s previous discovery orders, a full recitation of
the facts of the case or the governing law is not necessary.

5: As a preliminary matter, the Court concludes that Plaintiff has standing to
seek quashal or modification of the third-party subpoena seeking her consumer records.
Phillips & Stevenson, Federal Civil Procedure Before Trial, §] 11:2286 (The Rutter Group
2021) (collecting cases). Plaintiff has a more-than-minimal privacy interest in records
regarding her communications in the digital age. Crispin v. Christian Audigier, Inc., 717
F. Supp. 2d 965, 974 (C.D. Cal. 2010) (“[A]n individual has a personal right in information
in his or her profile and inbox on a social networking site and his or her webmail inbox in
the same way that an individual has a personal right in employment and bank records.

CV-90 (10/08) CIVIL MINUTES - GENERAL Page 1 of 4
Case 2:20-cv-11064-FMO-MRW Document 148 Filed 09/24/21 Page 2of4 Page ID #:2860

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-11064 FMO (MRWx) Date September 24, 2021

 

 

Title Roe v. Puig

 

As with bank and employment records, this personal right is sufficient to confer standing
to move to quash a subpoena seeking such information.”); Mintz v. Mark Bartelstein &
Assoc., Inc., 885 F. Supp. 2d 987, 993 n.5 (C.D. Cal. 2012) (sub silentio endorsing Crispin
analysis as to phone records).

 

6. In the alternative, the nature of the phone subpoena entitled Plaintiff to
pursue quashal. A party may have standing to quash a third party subpoena “in unusual
circumstances and for good cause.” Moon v. SCP Pool Corp., 232 F.R.D. 633, 636 (C.D.
Cal. 2005) (quotation omitted). Unusual circumstances may arise when “the subpoena is
overbroad on its face and exceeds the bounds of fair discovery.” Id. As discussed below,
the Moon analysis applies here.

RER*

7. On the merits, Defendant has not convincingly demonstrated the relevance or
proportionality of requested discovery.! The gist of the defense subpoena is to identify all
of the people with whom Plaintiff spoke / texted in the month before and the eight months
after the alleged assault. (Docket # 132-1 at 14.) Defendant offered no comprehensible
explanation as to how identifying those people would be directly relevant to a claim or
defense.

8. At best, the defense argued that finding those people was “calculated to lead
to admissible information” about their discussions with Plaintiff regarding Puig’s alleged
assault — presumably by interviewing all of them. (Id. at 15.) But that’s not the standard
to determine relevance. Fed. R. Civ. P. 26, 2015 Comm. (“The former provision for
discovery of relevant but inadmissible information that appears ‘reasonably calculated to
lead to the discovery of admissible evidence’ is also deleted.”). Defendant offered no basis
from which to conclude that any of Plaintiffs contacts possessed any percipient or
secondhand information related to the lawsuit. The mere hope of finding some doesn’t
make this discovery relevant.

9. Even if trolling through Plaintiffs phone records was somehow within the
scope of relevance under the Rule, I easily conclude that this material is not proportional

 

1 The relevance / proportionality rubric under Rule 26(b)(1) applies to a Rule 45
subpoena. Phillips & Stevenson, § 11:2305 (“A subpoena may command production only of
documents and other things that are ‘nonprivileged, ‘relevant to any party’s claim or defense, and
proportional to the needs of the case.’ [FRCP 26(b)(1)]”).

CV-90 (10/08) CIVIL MINUTES - GENERAL Page 2 of 4
Case 2:20-cv-11064-FMO-MRW Document 148 Filed 09/24/21 Page 3o0f4 Page ID #:2861

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-11064 FMO (MRWx) Date September 24, 2021

 

 

Title Roe v. Puig

 

to the needs of the case. At the hearing on the motion, Defendant’s attorney acknowledged
the speculative nature of the info that he sought. “Presumably, we’d learn” whether or not
Plaintiff spoke to the folks on her phone bill about the Puig encounter — when the lawyer
or investigators randomly contact those individuals and ask them.

10. The fifth and sixth factors identified in Rule 26(b)(1) — “the importance of the
discovery in resolving the issues, and whether the burden or expense of the proposed
discovery outweighs its likely benefit” — clearly apply here. The Court has little visibility
as to whether contacting dozens / hundreds / maybe thousands (?) of people on Plaintiff's
phone log — which will likely include customers, clients, family members, and friends —
would ever lead to the discovery of any person with information about the incident
(factor 5). And that slim chance (the benefit of finding a favorable defense witness) is far
outweighed by the burden on Plaintiff of having her adversary disclose and discuss the
sensitive facts of the incident in such a scattershot way (factor 6). In exercise of discretion,
I conclude that the discovery sought is not proportional to the needs of the action.

11. The limited carve-outs discussed at the hearing (data regarding direct
communications between the parties, and the (non)existence of bills for new digital
devices) provide the outer scope of legitimate discovery for this subpoena. The request to
the phone company is modified to those issues pursuant to Rule 45(d).2

k*e*

12. The Court gave considerable thought to going down the Rule 37(a)(5) fee path
again in this action. The parties’ failure to inform the Court that they had resolved the
business records dispute is, frankly, inexcusable. They couldn’t e-mail the Clerk ahead of
time? Tell her when they checked in for the hearing? Bravely stand up and tell me before
I recited my tentative decision in court? Bah. And, as set forth above, the analysis of the
(lack of) relevance and (lack of) proportionality was pretty simple here.

13. | However, in a further exercise of discretion, I suppose the parties’ late
agreement constitutes a circumstance for finding a fee award to be unjust. And Plaintiffs
putative reliance on 18 U.S.C. § 1039 — entitled “Fraud and related activity in connection
with obtaining confidential phone records” — was really an unnecessary detour in the
briefing that skews against the defense paying their research fees. Finally, the parties

 

 

2 Because this material will contain personal telephone numbers and other private
data, the records will be subject to the preexisting protective order in the action.

CV-90 (10/08) CIVIL MINUTES - GENERAL Page 3 of 4
Case 2:20-cv-11064-FMO-MRW Document 148 Filed 09/24/21 Page 4of4 Page ID #:2862

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-11064 FMO (MRWx) Date September 24, 2021

 

 

Title Roe v. Puig

 

explained that they hope to sit down with a mediator to try to resolve this case shortly.
Let’s give them some incentive: no fee shift for this discovery dispute. That may not hold
true for future ones.

CV-90 (10/08) CIVIL MINUTES - GENERAL Page 4 of 4
